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                                                                    EXHIBIT A
                                        In re New Century TRS Holdings, Inc. Case No. 07-10416-KJC (Chap. 11)
                                    Movant: U.S. Bank National Association, as Trustee for Mortgage Pass-Through Certificates, Series 2006-NC2
                                                                           D&G Reference: 211878

                                                                Original               Current
 Loan No.        Mortgagors               Loan Date                                                       Current Value                          Property Address
                                                               Loan Amt                Payoff

1220004105     Carlos Vasquez            12/16/2005           436,000.00             479,302.70            497,000.00          7160 Plumrose Street, Fontana, CA 92336
             David J. Estrada and
1220004513                                12/8/2005           288,000.00             316,534.02            319,900.00          27112 Rio Vista Dr., Sun City, CA 92586
              Herlinda Estrada
               Matthew James
1220004534                                1/9/2006            169,600.00             192,287.35            195,000.00          279 Tyler Avenue, Central Point, OR 97502
                   Young
             Heather Rafael and
1220004663                               12/27/2005           383,120.00             458,036.90            440,000.00          1420 Propect Way, Suisun City, CA 94585
             Nobuyoshio Rafael
1220004814     Jessica L. Daigle         12/27/2005           124,000.00             149,082.71            129,900.00          10b Welson Ave., Worcester, MA 01607
             Akhamma Prasad and
1220004946                                1/20/2006           621,000.00             709,760.27            660,000.00          5146 Winston Court, Fremont, CA 94536
               Jog Ram Prasad
1220005046      Rafael Mendez             1/20/2005           480,000.00             525,245.91            480,000.00          1127 Carey Drive, Concord, CA 94520
                                                                                                                               1186 Worcester Road 1010, Framingham, MA
1220005109    Marcelo B. Felipe          12/30/2005           136,000.00             153,736.59            125,000.00
                                                                                                                               01702
1220005311     Heymar Osorno              1/11/2006           336,000.00             372,180.86            339,900.00          6710 Crest Ave., Riverside, CA 92503
              Victoria Pierce and
1220005351                                1/6/2006            286,276.00             310,943.66            349,000.00          9457 Plum Court, Hesperia, CA 92345
              Clydia M. Cooper
1220005672     Pedro J. Zamora            1/18/2006           271,999.00             314,213.09            345,000.00          120 Primrose Ave. N., Rialto, CA 92376

1220005866      Tim Baldwin               1/12/2006           328,000.00             354,160.00            375,000.00          18290 18th Avenue, Big Lake, MN 55309

1220006061     Sandra Scepurek            1/17/2006           158,600.00             178,260.44            170,000.00          413 7th Ave. SW, Rice, MN 56367
             Juan Ochoa and Rosa
1220006072                                1/18/2006           624,428.00             678,598.70            710,000.00          1191 Court Lane, Concord, CA 94518
                Navarro Ochoa
1220006202    Alqiviadh Manos            10/11/2005           423,360.00             460,688.93            620,000.00          270 E. Flamingo Ave., Las Vegas, NV 89109
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                                               Original      Current
 Loan No.       Mortgagors       Loan Date                                Current Value                 Property Address
                                              Loan Amt       Payoff
1220009879   Cipriana Sanchez    12/6/2005    297,600.00    317,910.80     299,900.00     79 Groton Street, Lawrence, CA 01843
             Kevin L. Dunnells
1220004743     and Paula A.      12/22/2005   116,640.00    129,884.54     165,000.00     1580 Helderberg Trail, Berne, NY 12023
                 Dunnells
                                                                                          78 South Hamilton Street, Poughkeepsie, NY
1220004844      Diane Long        1/5/2006    203,200.00    227,199.73     239,900.00
                                                                                          12601
                                                                                          166 Country Line Road, Massapequa, NY
1220005345   Johnathan Haies      1/5/2006    344,000.00    358,381.66     339,999.00
                                                                                          11758
1220005806   Cristina Guzman      1/9/2006    508,000.00    531,957.72     620,000.00     100 21 Atlantic Avenue, Ozone Park, NY 11418




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